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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
In re:
                                                              CHAPTER 11
TRIAX CAPITAL ADVISORS LLC                                    Case No. 19-24145 (RDD)

--------------------------------------------------------- X

    AMENDED JOINT APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO
       FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019 APPROVING
          SETTLEMENT AGREEMENT BETWEEN THE DEBTOR AND
              CREDITOR SOUTHERN FINANCIAL GROUP, LLC

TO:      THE HONORABLE ROBERT D. DRAIN,
         UNITED STATE BANKRUPTCY JUDGE:

         Debtor Triax Capital Advisors LLC (“Debtor”) and Creditor Southern Financial Group,

LLC (“SFG”), through their respective counsel, submit this Amended Joint Application for Entry

of an Order Pursuant to Federal Rule of Bankruptcy Procedure 9019 Approving Settlement

Agreement Between the Debtor and Creditor Southern Financial Group, LLC (the “Amended

Joint Application”), seeking the entry of an Order, substantially in the form attached hereto as

Exhibit A (the “Proposed Order”), pursuant to Rule 9019 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) approving the settlement agreement and corresponding

exhibits (collectively, the “Settlement Agreement”), a copy of which is attached hereto as

Exhibit B, by and between the Debtor, SFG, Joseph E. Sarachek (“Sarachek”), TopCo 1, LLC

(“TopCo”), and JSARCo, LLC (“JSARCo”) (collectively, the “Initial Settlement Parties”).

Subsequent to the filing of the original Joint Application, the Debtor reached an agreement with
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PJC Investments, LLC (“PJC” and together with the Initial Parties, the “Parties”). In support of

the Amended Joint Application, Debtor and SFG respectfully state as follows:

                                           SUMMARY OF SETTLEMENT

         1.        The Debtor will consent to the transfer by LPAQ, LLC (“LPAQ”) of 50% of the

LPAQ assets to SFG, which is the beneficial interest of the Debtor in LPAQ. To reflect its

divestment of its beneficial interest in the value of LPAQ, the Debtor will also consent to the

transfer of the it remaining interest in LPAQ to PJC.

                                           JURISDICTION AND VENUE

         2.        The United States Bankruptcy Court for the Southern District of New York (the

“Court”) has jurisdiction to consider and determine this matter pursuant to 28 U.S.C. §§ 157 and

1334.

         3.        This is a core proceeding under 28 U.S.C. § 157(b)(2).

         4.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.        The predicates for the relief requested herein is Rule 9019 of the Bankruptcy

Rules.

                                           RELEVANT BACKGROUND

         6.        The Debtor is the owner of a fifty percent (50%) interest in LPAQ. PJC is the

owner of the remaining interests in LPAQ. LPAQ owns certain units of membership interests in

Life Partners IRA Holder Partnership, LLC (“IRAP”) and certain units of beneficial interests in

the Life Partners Position Holder Trust (“PHT”).

         7.        On or about September 12, 2017, Sarachek, Debtor’s sole and managing member,

executed a promissory note, for valuable consideration, made payable to SFG in the principal

amount of $1,300,000.00 (the “Note”).             The Note evidences a loan agreement (the “Loan

Agreement”) dated September 12, 2017, between SFG, Sarachek, JSARCo, and the Debtor.

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         8.        On or about September 12, 2017, TopCo executed an absolute and unconditional

guaranty, for valuable consideration, in which TopCo guaranteed to SFG the prompt payment in

full when due, whether by acceleration or otherwise, any and all of the indebtedness evidenced

by the Note.

         9.        On or about September 12, 2017, JSARCo executed an absolute and

unconditional guaranty, for valuable consideration, in which JSARCo guaranteed to SFG the

prompt payment in full when due, whether by acceleration or otherwise, any and all of the

indebtedness evidenced by the Note.

         10.       On or about September 12, 2017, the Debtor, for valuable consideration, executed

a pledge agreement to secure the Note (the “Triax Pledge Agreement”), in which the Debtor

pledged, granted, transferred, and assigned to SFG a security interest in all of the Debtor’s right,

title, and interest in and to the Collateral as defined in the Triax Pledge Agreement as follows:

                   a.        “Collateral” shall mean the Pledged Interests, the Future Rights,
                             and the Proceeds, collectively.

                   b.        “Future Rights” shall mean: (a) all Equity Interests (other than
                             Pledged Interests) of the Issuer, and all securities convertible or
                             exchangeable into, and all warrants, options, or other rights to
                             purchase, Equity Interests of the Issuer; and (b) the certificates or
                             instruments representing such Equity Interests, convertible or
                             exchangeable securities, warrants, or other rights and all dividends,
                             cash, options, warrants, rights, instruments, and other property or
                             proceeds from time to time received, receivable, or otherwise
                             distributed in respect of or in exchange for any or all of such
                             Equity Interests.

                   c.        “Pledged Interests” shall mean: (a) all Equity Interests of the
                             Issuer identified on Schedule 1; and (b) the certificates or
                             instruments representing such Equity Interests.

                   d.        “Proceeds” shall mean all proceeds (including proceeds of
                             proceeds) of the Pledged Interests and Future Rights including all:
                             (a) rights, benefits, distributions, premiums, profits, dividends,
                             interest, cash, instruments, documents of title, accounts, contract
                             rights, inventory, equipment, general intangibles, payment
                             intangibles, deposit accounts, chattel paper, and other property
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                             from time to time received, receivable, or otherwise distributed in
                             respect of or in exchange for, or as a replacement of or a
                             substitution for, any of the Pledged Interests, Future Rights, or
                             proceeds thereof (including any cash, Equity Interests, or other
                             securities or instruments issued after any recapitalization,
                             readjustment, reclassification, merger or consolidation with respect
                             to the Issuer and any security entitlements, as defined in Section 8-
                             102(a)(17) of the Code, with respect thereto); (b) “proceeds,” as
                             such term is defined in Section 9-102(a)(65) of the Code; (c)
                             proceeds of any insurance, indemnity, warranty, or guaranty
                             (including guaranties of delivery) payable from time to time with
                             respect to any of the Pledged Interests, Future Rights, or proceeds
                             thereof; (d) payments (in any form whatsoever) made or due and
                             payable to Pledgor from time to time in connection with any
                             requisition, confiscation, condemnation, seizure or forfeiture of all
                             or any part of the Pledged Interests, Future Rights, or proceeds
                             thereof; and (e) other amounts from time to time paid or payable
                             under or in connection with any of the Pledged Interests, Future
                             Rights, or proceeds thereof.

Triax Pledge Agreement ¶ 1(a).

         11.       On or about September 12, 2017, Sarachek, for valuable consideration, executed a

pledge agreement (the “Sarachek Pledge Agreement”) to secure the Note, in which he pledged,

granted, transferred, and assigned to SFG a security interest in all of his right, title, and interest

in or to the Collateral as defined in the Sarachek Pledge Agreement. Collateral is defined

identically in the Triax Pledge Agreement (as excerpted above) as in the Sarachek Pledge

Agreement.

         12.       On September 28, 2018, SFG filed its Original Petition and Request for

Disclosure in Texas state-court litigation captioned Cause No. 2018-3568-5, Southern Financial

Group, LLC v. Joseph E. Sarachek, TopCo 1, LLC, JSARCo, LLC, and Triax Capital Advisors,

LLC, pending in the 414th District Court in McLennan County, Texas (the “Texas State Court

Litigation”). The defendants in the Texas State Court Litigation filed their Original Answer and

Request for Disclosure on November 29, 2018.




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         13.       On September 20, 2019, SFG filed its Traditional Motion for Summary Judgment

(the “Motion for Summary Judgment”) against Sarachek, TopCo, JSARCo, and the Debtor in the

Texas State Court Litigation. Specifically, SFG asserts that the Texas State Court Litigation

defendants

                   [B]reached certain obligations under the Note, the Loan Agreement, the
                   TopCo Guaranty, the JSARCo Guaranty, the Triax Pledge Agreement, and
                   the Sarachek Pledge Agreement, by failing to pay certain installments due
                   in accordance with the terms of the Note, failing to pay the cash sum of
                   $40,000.00 as the origination fee under the Loan Agreement, and failing to
                   deliver to [SFG] the original of that certain Common Stock Purchase
                   Warrant of Emergent Capital, Inc. issued on July 28, 2017 for the
                   purchase of 13,575,000 shares of common stock of Emergent Capital, Inc.

SFG’s Traditional Mot. for Summ. J. ¶ 8. On November 1, 2019, SFG filed its notice of hearing

on the Motion for Summary Judgment, setting the Motion for Summary Judgment hearing on

December 13, 2019. The Texas State Court Litigation defendants filed their response and

objections to SFG’s Motion for Summary Judgment on December 6, 2019.

         14.       On December 11, 2019 (the “Petition Date”), the Debtor filed its voluntary

petition in this Court for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). Since the Petition Date the Debtor continues to operate its business as a

debtor-in-possession pursuant to section 1107(a) and 1108 of the Bankruptcy Code. As of the

date of filing this Joint Application, neither a trustee or an examiner nor an official committee

have been appointed in this chapter 11 case.

         15.       Pending before the Court are Creditor Southern Financial Group, LLC’s Motion

for an Order Pursuant to Federal Rule of Bankruptcy Procedure 2004 Authorizing the Issuance

of Subpoenas for the Production of Documents and Taking the Testimony of the Debtor [Doc.

No. 22], Creditor Southern Financial Group, LLC’s Motion for Entry of Order for Relief From

the Automatic Stay to Proceed With Texas State Court Litigation or, In the Alternative,

Severance of Debtor [Doc. No. 27], and the Joint Application for Entry of an Order Pursuant to
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Federal Rule of Bankruptcy Procedure 9019 Approving Settlement Agreement Between the

Debtor and Creditor Southern Financial Group, LLC [Doc. No. 43].

         16.       The Parties have arrived at a settlement agreement, which includes, among other

things: (A) the transfer by LPAQ to SFG of 759,647 units of membership interests in IRAP

owned by LPAQ and 4,024,155 units of beneficial interests in PHT owned by LPAQ; (B) the

cash payment of $225,000.00 by Sarachek to SFG on or before a certain effective date; (C) the

delivery to SFG of a certain executed payment agreement and a certain executed agreed

judgment in connection with the Texas State Court Litigation and this bankruptcy case; and (D)

the transfer by Triax of its ownership interests in LPAQ.

                                           RELIEF REQUESTED

         17.       By this Amended Joint Application, the Debtor and SFG seek this Court’s

approval of the Settlement Agreement of the Parties.

                                       ARGUMENT AND AUTHORITY

         18.       Bankruptcy Rule 9019(a) provides that “[o]n motion by the trustee and after

notice and a hearing, the court may approve a compromise or settlement.” FED. R. BANKR. P.

9019(a). Prior to approving a settlement under Bankruptcy Rule 9019, a court must determine

that the proposed settlement is (a) fair and equitable, and (b) in the best interest of the debtor’s

estate. See Krys v. Official Comm. of Unsecured Creditors (In re Refco Inc.), 505 F.3d 109, 119

(2d Cir. 2007) (“[A] bankruptcy court’s obligation is to determine whether a settlement is in the

best interests of the estate[.]”); Motorola, Inc. v. Official Comm. of Unsecured Creditors (In re

Iridium Operating LLC), 478 F.3d 452, 462 (2d Cir. 2007) (applying “fair and equitable”

standard to settlements pursuant to Bankruptcy Rule 9019).

         19.       A court should consider the following factors in determining whether a proposed

settlement is fair and equitable:

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                   (1) the balance between the litigation’s possibility of success and
                   the settlement’s future benefits; (2) the likelihood of complex and
                   protracted litigation, with its attendant expense, inconvenience, and
                   delay, including the difficulty in collecting on the judgment;
                   (3) the paramount interests of the creditors, including each affected
                   class’s relative benefits and the degree to which creditors either do
                   not object to or affirmatively support the proposed settlement;
                   (4) whether other parties in interest support the settlement; (5) the
                   competency and experience of counsel supporting, and the
                   experience and knowledge of the bankruptcy court judge
                   reviewing, the settlement; (6) the nature and breadth of releases to
                   be obtained by officers and directors; and (7) the extent to which
                   the settlement is the product of arm’s length bargaining.

478 F.3d at 462 (citing In re WorldCom, Inc., 347 B.R. 123, 137 (Bankr. S.D.N.Y. 2006)).

         20.       Accordingly, settlements and compromises should be rejected only if they fall

“below the lowest point in the range of reasonableness.” In re Stone Barn Manhattan LLC, 405

B.R. 68, 75 (Bankr. S.D.N.Y. 2009) (stating that Bankruptcy Rule 9019 “does not require a court

to conduct a mini-trial to ‘decide the numerous questions of law and fact raised . . . but rather to

canvass the issues’ raised by the parties and decide whether a proposed settlement falls ‘below

the lowest point in the range of reasonableness’”) (quoting In re Teltronics Servs., Inc., 762 F.2d

185, 189 (2d Cir. 1985); In re W.T. Grant Co., 699 F.2d 599, 608 (2d Cir. 1983)).

         21.       Debtor exercised its business judgment in entering into the Settlement Agreement.

         22.       Debtor has not asserted any claims against SFG and the only relief sought in the

underlying State Court Litigation is the right of SFG to foreclose its security interest in LPAQ.

         23.       The Iridium factors weigh in favor of this Court’s approval of the Settlement

Agreement.

         (1) the balance between the litigation’s possibility of success and the settlement’s future

benefits: The proposed settlement conveys to SFG and to PJC the economic benefit they are

contractually entitled to in connection with LPAQ.




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         (2) the likelihood of complex and protracted litigation, with its attendant expense,

inconvenience, and delay, including the difficulty in collecting on the judgment: The Debtor and

SFG would cease incurring the continued legal fees and expenses associated with the Texas State

Court Litigation, discovery (including requested 2004 examination), and other pending and

potential litigation as a result of the Settlement Agreement.

         (3) the paramount interests of the creditors, including each affected class’s relative

benefits and the degree to which creditors either do not object to or affirmatively support the

proposed settlement: SFG is the only listed secured creditor of the Debtor and the only party

which asserts any direct or indirect interest in the Debtor’s interest in LPAQ or the assets owned

by LPAQ. Resolution of the sole secured claim improves the likelihood a global resolution of

this case. Further, the agreement to divest itself of any interest in LPAQ reflect the economic

reality of LPAQ and avoids an objection by PJC.

         (4) whether other parties in interest support the settlement: Pursuant to the Settlement

Agreement, Sarachek, TopCo, and JSARCo shall release SFG and its predecessors from any

defense, offset, or counterclaim, known or unknown, that they ever had or now have and

acknowledges that SFG has fully performed all obligations that it may have, had, or now has to

the remaining Parties.

         (5) the competency and experience of counsel supporting, and the experience and

knowledge of the bankruptcy court judge reviewing, the settlement: The Parties’ counsel have

worked diligently and efficiently at reaching the Settlement Agreement, and this Court is more

than capable of reviewing and approving the Settlement Agreement in accordance with

Bankruptcy Rule 9019.

         (6) the nature and breadth of releases to be obtained by officers and directors: The

Debtor isn’t granting any releases to officers or directors.

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         (7) the extent to which the settlement is the product of arm’s length bargaining: The

Settlement Agreement is the result of arms’-length negotiations including multiple in-person and

telephonic meetings amongst the Parties and their respective counsel of record.

         24.       Thus, the factors weigh in favor of this Court approving the Settlement

Agreement pursuant to Bankruptcy Rule 9019 as fair and equitable and in the best interest of

Debtor’s estate.

                    WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h)

         25.       Debtor, PJC, and SFG request that the Court waive the stay period under

Bankruptcy Rule 6004(h).

                                                  NOTICE

         26.       Notice of this Motion has been given to: (a) Debtor; (b) counsel for the Debtor;

(c) the Office of the United States Trustee for the Southern District of New York; and (d) all

parties requesting notice pursuant to Bankruptcy Rule 2002. Debtor and SFG respectfully

submit that, in light of the nature of the relief requested herein, no further notice is necessary or

required.

                                           ONE PRIOR REQUEST

         27.       One prior request for the relief sought herein has been made to this Court. See

Doc. No. 43.

                                                  PRAYER

         WHEREFORE, Debtor and SFG respectfully request that this Court enter an order

substantially in the form of the Proposed Order, approving the Settlement Agreement of the

Parties. The Debtor and SFG further request such other and further relief to which they may be

justly entitled.




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